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INDIVIDUAL SETTLEMENT SHEET

(EXHIBIT A to Stipulation of Settlement )

NAME OF SETTLORS:

KZRV, LP
Sentry Insurance a Mutual Company
Lexington Insurance Company

SETTLOR’S COUNSEL:

James C. Percy

Ryan E. Johnson

Jones Walker

8555 United Plaza Blvd., Fifth Floor
Baton Rouge, Louisiana 70809
(Counsel for KZRV, LP)

Charles E. Leche

Deutsche, Kerrigan & Stiles, L.L.P.

755 Magazine Street

New Orleans, Louisiana 70130

(Counsel for Lexington Insurance Company)

Heidi Vogt

von Briesen & Roper, S.C.

411 East Wisconsin Avenue

Suite 700

Milwaukee, WI 53202

(Counsel for Sentry Insurance a Mutual Company)

SETTLEMENT AMOUNT:

$1, 250,000

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Plgjntiffs” Counsel Date

Settlor’s Cotinsél Date
(Heidi Vogt for Sentry)

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Settlor’s Cdugsel Date
(Ryan E. Johnson for KZ)

{B0789786.1} 1

Settlor’s Counsel Date
(Charles E. Leche for

Lexington)
